     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 1 of 39




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

ANDREW H. WARREN,

      Plaintiff,

      v.                                     Case No. 4:22-cv-302-RH-MAF

RON DESANTIS, individually and in his
official capacity as Governor of the State
of Florida,

     Defendant.
_________________________________/

     DEFENDANT’S CONSOLIDATED MOTION TO DISMISS AND
    MEMORANDUM OF LAW, AND RESPONSE IN OPPOSITION TO
           MOTION FOR PRELIMINARY INJUNCTION
        Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 2 of 39




                                         TABLE OF CONTENTS

INTRODUCTION .....................................................................................................1
BACKGROUND .......................................................................................................1
                  A.       The Governor’s suspension authority ......................................... 1
                  B.       Governor DeSantis suspends Mr. Warren because of
                           Mr. Warren’s blanket non-prosecution policies ......................... 3
LEGAL STANDARD ................................................................................................6
ARGUMENT .............................................................................................................6
         I.       Mr. Warren fails to state a claim and is unlikely to succeed on the
                  merits .....................................................................................................6
                  A.       Mr. Warren cannot establish a claim for First Amendment
                           retaliation ....................................................................................7
                           1.        Mr. Warren’s First Amendment claim is barred by
                                     Garcetti and Pickering...................................................... 7
                           2.        Mr. Warren was not suspended for the views he
                                     expressed but for the conduct he announced .................. 13
                           3.        Mr. Warren has not established the causation element
                                     of a First Amendment retaliation claim ..........................15
                  B.       Mr. Warren’s state-law claim fails ...........................................16
                           1.        Sovereign immunity bars Mr. Warren’s state-law
                                     claim................................................................................16
                           2.        Mr. Warren’s state-law claim is meritless under
                                     Florida law ......................................................................18
                  C.       The Court may not and should not grant the requested
                           injunctive relief .........................................................................26
         II.      Nor has Mr. Warren made the equitable showings necessary for a
                  preliminary injunction .........................................................................31
CONCLUSION ........................................................................................................33




                                                             ii
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 3 of 39




                                 INTRODUCTION

      The former state attorney for the Thirteenth Judicial Circuit of Florida, An-

drew Warren, has sued Governor Ron DeSantis seeking reinstatement to his previ-

ous position. He argues that the Governor, in exercising his authority to suspend

state officials guilty of neglect of duty and incompetence, violated both the First

Amendment and the Florida Constitution. But Mr. Warren ignores that his speech as

a government official was unprotected, and that in any event he was suspended

solely for his conduct; mistakenly relies on the Court’s pendent jurisdiction to bring

state-law claims that are equal parts barred by sovereign immunity and baseless un-

der the state constitution; and discounts that important federalism and equitable con-

siderations foreclose his requested relief.

      At bottom, this case does not warrant federal-court intervention in a quintes-

sentially state matter: the Governor’s constitutional duty to take care that the laws

be faithfully executed, and the State’s constitutional process for removing wayward

officials who refuse to faithfully execute those laws. The Governor therefore moves

to dismiss the complaint and opposes Mr. Warren’s bid for a preliminary injunction.

                                  BACKGROUND
      A. The Governor’s suspension authority.

      As Florida’s chief executive officer, the Governor has broad authority to over-

see the State’s executive branch. See Fla. Const. art. IV, § 1 (vesting the “supreme


                                              1
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 4 of 39




executive power” in the Governor). That authority includes “tak[ing] care that the

laws be faithfully executed,” “commission[ing]” state officers, and “transact[ing] all

necessary business with the officers of government.” Id. § 1(a).

      This power would be incomplete without the authority to suspend state offi-

cials who falter in their duties. To that end, the Governor—“[b]y executive order

stating the grounds”—“may suspend from office any state officer not subject to im-

peachment.” Id. § 7(a). The permissible bases for suspension are “malfeasance, mis-

feasance, neglect of duty, drunkenness, incompetence, permanent inability to per-

form official duties, or commission of a felony.” Id. The Governor may appoint a

replacement during the suspension. Id.

      Once the Governor has suspended a state official, the matter goes to the Flor-

ida Senate, which “may, in proceedings prescribed by law, remove from office or

reinstate the suspended official.” Id. § 7(b).

      Throughout this process, Florida courts play only a “limited role.” Israel v.

DeSantis, 269 So. 3d 491, 495 (Fla. 2019). That role entails “determining whether

the executive order, on its face, sets forth allegations of fact relating to one of the

constitutionally enumerated grounds of suspension.” Id. In that inquiry, a court will

ask only whether the executive order alleges facts that “bear some reasonable rela-

tion” to the charge levied against the officer. Id. at 497. If so, the correctness of the

Governor’s action is left to the Florida Senate. Id. at 495–96.


                                           2
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 5 of 39




      B. Governor DeSantis suspends Mr. Warren because of Mr. Warren’s
         blanket non-prosecution policies.

      On August 4, 2022, the Governor issued an executive order suspending An-

drew Warren from his position as State Attorney for the Thirteenth Judicial Circuit.

DE1-1:1–11.1 The Governor issued that order after it became clear that Mr. Warren

would refuse to prosecute four broad categories of crimes.

      As explained in the executive order, a state attorney’s “blanket refusal” to

enforce a criminal law is, under Florida law, “not an exercise of prosecutorial dis-

cretion.” Id. at 3 (quoting Ayala v. Scott, 224 So. 3d 755, 758–59 (Fla. 2017)). Re-

fusing outright to enforce a criminal law instead is “tantamount to a ‘functional

veto.’” Id. (same). Thus, when a state attorney refuses to make “‘case-specific’ and

‘individualized’ determinations as to whether the facts warrant prosecution,” the

state attorney either commits “neglect of duty” or demonstrates “incompetence.” Id.

at 2–4 (same).

      The four categories of crimes for which Mr. Warren decreed blanket non-en-

forcement policies are as follows.

      First, the executive order noted that Mr. Warren “instituted a policy . . .

against prosecuting crimes where the initial encounter between law enforcement and

the defendant results from a non-criminal violation in connection with riding a


      1
        This memorandum refers to ECF pagination. Page numbers are listed after
the colon.
                                         3
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 6 of 39




bicycle or a pedestrian violation.” Id. at 5. That presumption of non-prosecution ap-

plied even when the defendant resisted arrest without violence, and the “only excep-

tion” covered offenses involving “a direct threat to public safety, such as where an

individual has suffered physical harm or where a firearm is involved.” Id.

      Second, the Governor observed that Mr. Warren had adopted a policy of “pre-

sumptive non-enforcement for certain criminal violations, including trespassing at a

business location, disorderly conduct, disorderly intoxication, and prostitution.” Id.

      Third, based on Mr. Warren’s public statements, the Governor found that

Mr. Warren had pledged not to prosecute abortion-related crimes. Id. at 5–8. Indeed,

though Florida law criminalizes various conduct pertaining to abortions—including

partial-birth abortions, abortions during the third trimester or after the fetus achieves

viability, and, as recently enacted, abortions performed after 15 weeks’ gestation—

Mr. Warren signed a “Joint Statement” in his official capacity as State Attorney with

other prosecutors from around the country, dated June 24, 2022 and updated in July,

that swore off prosecuting abortion providers. Id. at 6. That letter announced:

      • “Criminalizing and prosecuting individuals who . . . provide abortion care
        makes a mockery of justice; prosecutors should not be part of that.”

      • “Enforcing abortion bans runs counter to the obligations and interests we
        are sworn to uphold.”

      • “As such, we [the undersigned prosecutors] decline to use our offices’ re-
        sources to criminalize reproductive health decisions and commit to exer-
        cise our well-settled discretion and refrain from prosecuting those who . . .
        provide, or support abortions.”
                                           4
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 7 of 39




       • “Our legislatures may decide to criminalize personal healthcare decisions,
         but we remain obligated to prosecute only those cases that serve the inter-
         ests of justice and the people.”

Id. at 7.

       Those statements, the Governor concluded, demonstrate that Mr. Warren had

“clearly, unequivocally, and publicly declared that his office will not prosecute vio-

lations of Florida criminal laws that prohibit providers from performing certain abor-

tions to protect the life of the unborn child.” Id. Mr. Warren was the lone Florida

state attorney to sign that letter. Id.; see id. at 21–30.

       Fourth, Mr. Warren had signed a similar letter in June 2021 refusing to pros-

ecute laws governing gender-transition treatments for children and bathroom usage

based on gender identity. Id. at 4. Among other things, Mr. Warren stated that laws

“that criminalize safe and crucial medical treatments or the mere public existence of

trans people do not promote public safety, community trust, or fiscal responsibility.”

Id. In his view, “[t]hey serve no legitimate purpose.” Id. He thus “pledge[d] to use

[his] discretion and not promote the criminalization of gender-affirming healthcare

or transgender people.” Id.

       Though, as the executive order noted, Florida currently has no such criminal

laws, the Governor interpreted these statements as still further evidence that

Mr. Warren “thinks he has authority to defy the Florida Legislature and nullify in

his jurisdiction criminal laws with which he disagrees.” Id.
                                             5
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 8 of 39




                                LEGAL STANDARD

      “To survive a motion to dismiss for failure to state a claim, a plaintiff must

plead ‘factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.’” Ruben v. Cotton States Mut. Ins.

Co., 2017 WL 628295, at *1 (N.D. Fla. Feb. 14, 2017) (citation omitted). “For pur-

poses of a motion to dismiss, the complaint’s factual allegations, though not its legal

conclusions, must be accepted as true.” Id. (same).

      A preliminary injunction is an “extraordinary and drastic remedy.” Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc). A plaintiff seeking such

relief must establish that (1) he is likely to succeed on the merits, (2) he is likely to

suffer irreparable harm without preliminary relief, (3) the balance of equities tips in

his favor, and (4) an injunction is in the public interest. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008).

                                    ARGUMENT
   I. MR. WARREN FAILS TO STATE A CLAIM AND IS UNLIKELY TO SUCCEED ON
      THE MERITS.

      Mr. Warren claims that he was suspended “in retaliation for exercising his

First Amendment rights,” DE1 ¶ 104; that the Governor’s suspension order violates

Florida law, id. ¶ 131; and that the Court should order his reinstatement, id. at 26.

But he fails to state a claim—let alone show a likelihood of success on the merits—

so this Court should dismiss and deny the motion for a preliminary injunction.

                                           6
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 9 of 39




      A. Mr. Warren cannot establish a claim for First Amendment retaliation.

      To prove that he was “suspended” for “exercising his constitutional right to

speak,” DE3-1:8, Mr. Warren must show that he engaged in constitutionally pro-

tected speech and that the Governor suspended him because of it. DeMartini v. Town

of Gulf Stream, 942 F.3d 1277, 1289 (11th Cir. 2019).

      He cannot meet that standard. For one thing, Mr. Warren did not engage in

constitutionally protected speech. The statements on which he relies were made

“pursuant to [his] official duties,” and “the Constitution does not insulate [such]

communications from employer discipline.” Garcetti v. Ceballos, 547 U.S. 410, 421

(2006). Nor was Mr. Warren even suspended for his speech; he was suspended for

preemptively deciding not to enforce Florida laws with which he disagrees—conduct

that receives no First Amendment protection.

         1. Mr. Warren’s First Amendment claim is barred by Garcetti and
            Pickering.
      Under Garcetti, “the Constitution does not insulate” “from employer disci-

pline” speech by public employees made “pursuant to their official duties.” 547 U.S.

at 421; see Vila v. Padrón, 484 F.3d 1334, 1339 (11th Cir. 2007). That alone defeats

Mr. Warren’s First Amendment claim.

      To show that he was suspended for allegedly protected speech, Mr. Warren

cites two letters he signed, DE1 ¶ 99, both discussed in the Governor’s suspension



                                         7
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 10 of 39




order, see DE1-1:4, 7. 2 The first letter relates to “transgender and gender-affirming

healthcare,” id. at 13, while the second letter relates to “abortion,” id. at 22. Both are

framed as “joint statements from elected prosecutors,” id. at 13, 22, and are signed

in Mr. Warren’s official capacity, bearing his signature in the following format:

             Andrew Warren
             State Attorney, 13th Judicial Circuit (Tampa), Florida

Id. at 20, 29. Those letters contain formal commitments regarding how Mr. Warren

will exercise his government powers. See id. at 15 (“[W]e pledge to use our settled

discretion and limited resources on enforcement” of certain laws.); id. at 22 (com-

mitting to use “well-settled discretion and refrain from prosecuting those who seek,

provide, or support abortion”). The suspension order relies on those statements, id.

at 4, 7, and faults Mr. Warren for his “public proclamations of non-enforcement,”

id. at 9.

       These statements were made pursuant to Mr. Warren’s official duties. A state-

ment is made pursuant to an official’s duties when it “relate[s] to” his position and

is “under h[is] jurisdiction and authority.” Vila, 484 F.3d at 1339. Similarly, a



       2
         Mr. Warren does not contend that it violated the First Amendment for the
Governor to suspend him because he instituted presumptive non-prosecution poli-
cies for certain enumerated crimes and for crimes arising from stops for non-criminal
bicycle or pedestrian violations. Supra 3–4. That is for good reason: Those portions
of the suspension order relate entirely to Mr. Warren’s conduct—his decision not to
prosecute certain cases—and contain no reference to any of Mr. Warren’s state-
ments. Infra 14–15.
                                            8
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 11 of 39




statement is made pursuant to an official’s duties when it is made “in his [official]

capacity.” D’Angelo v. Sch. Bd. of Polk Cnty., 497 F.3d 1203, 1210 (11th Cir. 2007).

The statements here meet either test. Mr. Warren signed both letters in his official

capacity as “State Attorney [for the] 13th Judicial Circuit,” DE1-1:20, 29, making

commitments regarding how he would use (or not use) his governmental authority.

It is hard to imagine a clearer case of speech pursuant to official duties. Even Mr.

Warren’s putative amici appear to concede as much. DE14-1:10 (discussing Mr.

Warren’s “public statements about public safety priorities,” which are “part of the

elected prosecutor’s duty”); DE22-1:2 (claiming Mr. Warren’s “statements concern-

ing his and his office’s prosecutorial priorities” were “consistent with” his “duties

as an elected prosecutor”).

      As official speech, the letters fall squarely within Garcetti. Because “govern-

ment employers” must enjoy “sufficient discretion to manage their operations”—

and because when government employees speak, “they can express views that con-

travene governmental policies or impair the proper performance of governmental

functions”—“[r]estricting speech that owes its existence to a public employee’s pro-

fessional responsibilities does not infringe any liberties the employee might have

enjoyed as a private citizen.” Garcetti, 547 U.S. at 419, 422–23. Such official-ca-

pacity speech is unprotected. See id. at 426.




                                          9
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 12 of 39




      Mr. Warren does not even cite this precedent. He instead relies on pre-Gar-

cetti cases like Bond v. Floyd, 385 U.S. 116 (1966), and Wood v. Georgia, 370 U.S.

375 (1962), to claim that his statements were protected speech, DE1 ¶ 83. It is un-

clear whether those cases survive Garcetti. See Werkheiser v. Pocono Twp., 780 F.3d

172, 179–80 (3d Cir. 2015) (discussing without resolving that question). Regardless,

they do not apply here for two reasons.

      For one, the statements in those cases were made in the plaintiffs’ personal

capacities. The Court in Bond found a First Amendment violation where a state leg-

islature prevented the swearing in of a member-elect because it wished to condemn

his comments on the Vietnam War. 385 U.S. at 118, 123. Those statements were

made before the plaintiff was sworn into office. Id. at 123. Similarly, in Wood, the

Court found a First Amendment violation where a state court held a sheriff in con-

tempt for comments about an issue pending before a grand jury. 370 U.S. at 376.

But it was “uncontroverted” that “the statements were distributed by [the sheriff] as

a private citizen” and not “in his capacity as sheriff.” Id. at 393.

      Garcetti does not apply to such personal-capacity speech. E.g., Siefert v. Al-

exander, 608 F.3d 974, 980 (7th Cir. 2010). But it does apply where, as here, the

statements are made pursuant to official duties.

      Yet even if Bond and Wood applied to official-capacity speech, they would

not control when the plaintiff is terminated or disciplined by a more senior official


                                           10
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 13 of 39




with supervisory power. The rationale behind Garcetti is that the government has

the “right to control official communications,” Hubbard v. Clayton Cnty. Sch. Dist.,

756 F.3d 1264, 1268 (11th Cir. 2014), because “[o]fficial communications have of-

ficial consequences,” id. (quoting Garcetti, 547 U.S. at 422). That rationale applies

where, as here, the Governor is tasked under the Florida Constitution with ensuring

that Mr. Warren discharges his duties properly and removing him if he does not. Fla.

Const. art. IV, § 1(a) (obliging the Governor to “take care that the laws be faithfully

executed”); id. § 7 (empowering the Governor to suspend an official for “malfea-

sance, misfeasance, neglect of duty, drunkenness, incompetence, permanent inabil-

ity to perform official duties, or commission of a felony”).

      We acknowledge that some courts have applied Bond, not Garcetti, to the

speech of elected legislators. See Boquist v. Courtney, 32 F.4th 764, 780 (9th Cir.

2022). But other courts have found no such carveout in Garcetti.3 And even if those

cases are correct, legislators and inferior executive officers are not the same. Legis-

lators are supervised by the people, not by a superior official tasked with ensuring

that they perform their duties. An inferior official subject to the latter constraints—

as was Mr. Warren—is a “public employee” charged with carrying out “professional


      3
        See Parks v. City of Horseshoe Bend, 480 F.3d 837, 840 (8th Cir. 2007)
(“We note that under Garcetti [the elected official’s] speech would not be protected
under the First Amendment if it was made in the course of her official duties.”);
Hartman v. Register, 2007 WL 915193, at *6 (S.D. Ohio Mar. 26, 2007) (similar);
Hogan v. Twp. of Haddon, 2006 WL 3490353, at *6 (D.N.J. Dec. 1, 2006) (similar).
                                          11
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 14 of 39




responsibilities” entrusted to it by the State. Garcetti, 547 U.S. at 421. The Governor

knows of no case holding otherwise. 4

      At any rate, even if this Court determines that Mr. Warren’s speech was made

in a personal capacity, his public refusals to enforce Florida law are still not pro-

tected. See Pickering v. Bd. of Educ., 391 U.S. 563, 568 (1968). When a government

employee speaks on matters of “public concern,” courts balance the employee’s in-

terest in making the statement against “the interest of the State, as an employer, in

promoting the efficiency of the public services it performs through its employees.”

Id. The “more closely the [suspension] serves the [State’s] interest in the efficient

and effective functioning of” government office, the “more heavily” the balance

“weighs” against First Amendment protection. McCabe v. Sharrett, 12 F.3d 1558,

1570 (11th Cir. 1994). And here that balance weighs overwhelmingly for the State

because Mr. Warren’s public repudiation of his duty “impede[d] the performance of

[his] duties” and “interfere[d] with the regular operation of” his office. Belcher v.

City of McAlester, 324 F.3d 1203, 1208 (10th Cir. 2003).

      Indeed, Mr. Warren is tasked with enforcing the criminal law and keeping his

community safe. But by openly declining to enforce Florida law, Mr. Warren shirked



      4
        Nor can Mr. Warren sidestep Garcetti on the theory that his official-capacity
speech “implicated contentious political issues important to the public.” See Wil-
liams v. Dallas Indep. Sch. Dist., 480 F.3d 689, 693 (5th Cir. 2007). The significance
of speech is “irrelevant” to the Garcetti official-capacity analysis. Id.
                                          12
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 15 of 39




his obligations, barred prosecutors in his office from fulfilling their own, and en-

couraged individuals to commit crimes within his community. His statements there-

fore represent the “simplest example of a statement by a public employee that would

not be protected” by the First Amendment: “answering ‘No’ to a request that the

employee perform a lawful task within the scope of his duties.” Connick v. Myers,

461 U.S. 138, 163 n.3 (1983) (Brennan, J., dissenting); see also Berry v. Bailey, 726

F.2d 670, 676 (11th Cir. 1984) (“refusal to perform a duty” is unprotected); Belcher,

324 F.3d at 1208 (firefighter’s speech on matter of public concern was unprotected

when it disrupted his department).

      Either because the statements relied on by the Governor were made pursuant

to Mr. Warren’s official duties, or because his open dereliction of those duties im-

peded his ability to fulfill them, Mr. Warren’s First Amendment claim fails.5

          2. Mr. Warren was not suspended for the views he expressed but for
             the conduct he announced.
      Even setting Garcetti aside, Mr. Warren’s claim fails for a more fundamental

reason: He was suspended for his conduct, not his speech. Subject to a narrow (and



      5
        A final note: Mr. Warren appears to suggest that his state-law arguments
should color the First Amendment analysis. See DE3-1:15 (asserting that the order’s
alleged facial invalidity evinces a “desire to punish [Mr. Warren] for protected
speech”). But the validity of the suspension order under state law does not make Mr.
Warren’s speech more or less protected under federal law. See Snowden v. Hughes,
321 U.S. 1, 11 (1944) (“[An action’s] illegality under [a] state statute can neither add
to nor subtract from its [federal] constitutional validity.”).
                                          13
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 16 of 39




inapplicable) exception for “inherently expressive” conduct, the First Amendment

protects only speech. Rumsfeld v. F. for Acad. & Institutional Rts., Inc., 547 U.S. 47,

62, 65–66 (2006) (FAIR). Yet the Governor’s justifications for suspending Mr. War-

ren identified only conduct: his preemptive decision not to prosecute certain types

of crime.

      The suspension order made that focus quite clear. For instance, it flagged two

presumptive non-enforcement policies, one aimed at “crimes where the initial en-

counter between law enforcement and the defendant results from a non-criminal vi-

olation in connection with riding a bicycle or a pedestrian violation,” and the other

geared toward “trespassing at a business location, disorderly conduct, disorderly in-

toxication, and prostitution.” DE1-1:5. Nowhere in discussing these policies did the

order mention speech; it simply explained that these policies evinced Mr. Warren’s

presumptive refusal to prosecute these kinds of cases. See id.

      The order’s other justifications also homed in on Mr. Warren’s policy choices.

Quoting his pledge that he would “decline to use [his] office[’s] resources to crimi-

nalize reproductive health decisions,” the order concluded that Mr. Warren had

“clearly, unequivocally, and publicly declared that his office [would] not prosecute

violations of Florida criminal laws that prohibit providers from performing certain

abortions.” Id. at 7. Similarly, quoting Mr. Warren’s declaration that he would “not

promote the criminalization of gender-affirming healthcare or transgender people”


                                          14
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 17 of 39




because such laws supposedly “serve no legitimate purpose,” the order reasoned that

Mr. Warren’s preliminary non-enforcement determination evinced his belief that “he

has authority to defy the Florida Legislature and nullify in his jurisdiction criminal

laws with which he disagrees.” Id. at 4. In short, his blanket decision not to enforce

certain Florida laws was the cause for his suspension.

      It does not matter that Mr. Warren used words—even politically charged

ones—to explain his decision. The Governor did not remove him because he ex-

plained his decision; the Governor removed him because he made his decision. The

State may regulate conduct that incidentally involves speech without implicating the

First Amendment. For example, the State may pass an anti-discrimination law that

prohibits an employer from posting a “White Applicants Only” sign because the law

is regulating conduct (racial discrimination), even though that conduct was an-

nounced and accomplished using words. See FAIR, 547 U.S. at 62; see also Giboney

v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949) (a regulation of conduct does

not transform into a regulation of speech “merely because the conduct was in part

initiated, evidenced, or carried out by means of language, either spoken, written, or

printed”). The same principle applies here.

         3. Mr. Warren has not established the causation element of a First
            Amendment retaliation claim.

      Alternatively, even if Mr. Warren engaged in some protected speech in an-

nouncing his decision not to enforce Florida law, he cannot establish that his words

                                         15
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 18 of 39




were a “motivating factor” in the Governor’s suspension decision. Castle v. Appala-

chian Tech. Coll., 631 F.3d 1194, 1197 (11th Cir. 2011). Rather, as just explained,

it is indisputable that the Governor suspended him for the conduct that his words

conveyed—his refusal to enforce the criminal law.

      B. Mr. Warren’s state-law claim fails.
      Mr. Warren also urges the Court to order his reinstatement under Florida law,

invoking the state judiciary’s authority to issue writs of “quo warranto” to “deter-

mine whether a state officer or agency has improperly exercised a power or right

derived from the State.” DE3-1:17. The claim should be denied. The Governor’s

sovereign immunity precludes a federal court from compelling him to comply with

state law. And in any case, the claim fails on the merits.

          1. Sovereign immunity bars Mr. Warren’s state-law claim.
      Eleventh Amendment sovereign immunity bars a federal court from ordering

state officials to comply with state law. See Pennhurst State Sch. & Hosp. v. Hal-

derman, 465 U.S. 89 (1984). That rule bars Mr. Warren’s state-law claim.

      Ordinarily, “[s]tate sovereign immunity limits federal court jurisdiction” in

actions against a state or state officials. S&M Brands, Inc. v. Georgia ex rel. Carr,

925 F.3d 1198, 1204 (11th Cir. 2019); see U.S. Const. amend. XI. Under Ex parte

Young, however, “[s]ome suits requesting injunctive or declaratory relief against

state officials are not considered suits against the state,” and therefore are not barred


                                           16
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 19 of 39




by sovereign immunity. Id. (citing 209 U.S. 123, 159–60 (1908)). That is so because

when a state official violates federal law, the state has no power to “authorize th[at]

action”; and “stripped of his official or representative character,” the official cannot

invoke the state’s sovereign immunity. Pennhurst, 465 U.S. at 102.

       But the situation is different “when the claim of entitlement to relief is based

on a violation of state law.” S&M Brands, 925 F.3d at 1204 (emphasis added). In

that instance, “sovereign immunity applies.” Id.; see also Dekalb Cnty. Sch. Dist. v.

Schrenko, 109 F.3d 680, 688 (11th Cir. 1997) (“[A] federal court may not entertain

a cause of action against a state for alleged violations of state law, even if that state

claim is pendent to a federal claim[.]”). Suits asking a federal court to enforce state

law do not implicate Ex parte Young’s narrow exception to sovereign immunity, as

they do not seek to “vindicate the supreme authority of federal law.” Pennhurst, 465

U.S. at 106. And “it is difficult to think of a greater intrusion on state sovereignty

than when a federal court instructs state officials on how to conform their conduct

to state law.” Id.

       Those principles apply here. Mr. Warren’s claim for quo warranto turns en-

tirely on state constitutional law. See DE3-1:17–27 (predicating Count 2 on “Florida

State law,” specifically the contention that “[t]he Governor has unlawfully sus-

pended Warren in violation of the Florida Constitution”). He asks this Court, in other

words, not to “vindicate the supreme authority of federal law” but to “instruct[] [a]


                                           17
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 20 of 39




state official[] on how to conform their conduct to state law.” Pennhurst, 465 U.S.

at 106.6 That claim must therefore be brought, if at all, in state court. E.g., Corn v.

Miss. Dep’t of Pub. Safety, 954 F.3d 268, 274–75 (5th Cir. 2020) (claim for injunc-

tive relief based on state-law violation barred by Pennhurst). And because this ques-

tion is one for the state courts, the Court should decline to exercise supplemental

jurisdiction even if it determines that sovereign immunity does not apply. See 28

U.S.C. § 1367(c).

          2. Mr. Warren’s state-law claim is meritless under Florida law.
      In any event, Mr. Warren’s state-law claim fails on the merits. He does not

dispute that the Governor has the power to suspend from office an official who ex-

hibits “neglect of duty” or “incompetence.” DE3-1:17–19. Nor does he dispute that

the Florida Senate is the ultimate arbiter of whether a suspension was proper, and

that courts play only a “limited role” in Florida’s suspension and removal process.

Israel, 269 So. 3d at 495. Mr. Warren nevertheless asks the Court to substitute its



      6
         For reasons similar to those described above, supra 16–18, Mr. Warren can-
not evade Pennhurst by suing the Governor in his individual capacity. “The Eleventh
Amendment bars a suit against state officials when ‘the state is the real, substantial
party in interest.’” Pennhurst, 465 U.S. at 101. As a “general rule,” “relief sought
nominally against an officer is in fact against the sovereign if the decree would op-
erate against the latter.” Id. That includes where the relief sought would “interfere
with the public administration” or “compel [the government] to act.” Harbert Int’l,
Inc. v. James, 157 F.3d 1271, 1277 n.3 (11th Cir. 1998). Reinstating a state officer
to his previous position would “operate against” the sovereign in precisely those
ways.
                                          18
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 21 of 39




judgment for that of the Senate, asserting that the Governor lacked a lawful ground

for the suspension. DE3-1:20. But under the highly deferential standard applicable

to quo warranto petitions—indeed, under any standard—the Governor’s order is

lawful.

      i. The Florida Constitution provides that the Governor “may suspend from

office any state officer” for “neglect of duty” or “incompetence.” Fla. Const. art. IV,

§ 7(a). Upon suspension, “[t]he senate may, in proceedings prescribed by law, re-

move from office or reinstate the suspended official.” Id. § 7(b).

      As that express delegation of authority to the Governor and Senate suggests,

the judiciary has only a “limited role in reviewing the exercise of the suspension

power.” Israel, 269 So. 3d at 495 (quoting Jackson v. DeSantis, 268 So. 3d 662, 663

(Fla. 2019)). “Where an executive order of suspension ‘names one or more of the

grounds embraced in the Constitution and clothes or supports it with alleged facts

sufficient to constitute the grounds or cause of suspension, it is sufficient.’” Id. (quot-

ing State ex rel. Hardie v. Coleman, 155 So. 129, 133 (Fla. 1934)). “Similarly, the

Senate’s judgment of removal or reinstatement ‘is final, and will not be reviewed by

the courts,’ as under the constitutional process for suspension and removal, the ‘Sen-

ate is nothing less than a court provided to examine into and determine whether or

not the Governor exercises the power of suspension in keeping with the constitu-

tional mandate.’” Id.


                                            19
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 22 of 39




      This Court’s task here, then, is simply to ask whether the Governor’s suspen-

sion order satisfies “a low threshold”: “if, on the whole, [the order] contains allega-

tions that bear some reasonable relation to the charge made against the officer, it will

be adjudged as sufficient.” Id. at 496. That inquiry is “facial” in nature and focuses

on “the factual allegations in an executive order of suspension.” Id.

      ii. The suspension order easily satisfies that standard. Florida law dictates that

a prosecutor’s charging discretion, though in many ways broad, is cabined by the

requirement that it be exercised on a case-by-case basis. See Ayala, 224 So. 3d at

758. “[A]dopting a ‘blanket policy’ against” enforcing certain types of criminal laws

is “in effect refusing to exercise discretion.” Id. (quoting Johnson v. Pataki, 691

N.E.2d 1002, 1007 (N.Y. 1997)). In fact, refusing to prosecute certain categories of

crimes is “tantamount to a ‘functional[] veto’ of state law.” Id. (same). Florida law

thus requires prosecutors to “mak[e] case-specific determinations” about whether to

charge a crime. Id.

      The failure or refusal to exercise case-by-case prosecutorial discretion is both

“neglect of duty” and “incompetence.” Neglect of duty refers to “the neglect or fail-

ure on the part of a public officer to do and perform some duty or duties laid on him

as such by virtue of his office or which is required of him by law.” Israel, 269 So. 3d

at 496. “It is not material whether the neglect be willful, through malice, ignorance,

or oversight.” Id. “Incompetence,” on the other hand, refers to “any physical, moral,


                                          20
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 23 of 39




or intellectual quality, the lack of which incapacitates one to perform the duties of

his office,” and “may arise from gross ignorance of official duties or gross careless-

ness in the discharge of them.” Id. That includes a “lack of judgment and discretion.”

Id.

       Applying those considerations, four categories of facts described on the face

of the suspension order “bear some reasonable relation” to the charge of neglect of

duty and incompetence. Israel, 269 So. 3d at 497.

       Non-prosecution of pedestrians and bicyclists with small exception. To start,

the Governor’s suspension order highlights that Mr. Warren had instructed his line

prosecutors not to enforce crimes “where the initial encounter between law enforce-

ment and the defendant results from a non-criminal violation in connection with rid-

ing a bicycle or a pedestrian violation.” DE1-1:5. That policy applies “even to

crimes” involving “resisting arrest without violence,” and its “only exception” is for

the prosecution of crimes posing a “direct threat to public safety, such as where an

individual has suffered physical harm or where a firearm is involved.” Id.

       Mr. Warren apparently found police encounters with pedestrians or bicyclists

to be unsavory. But as the Governor concluded, that hardly excuses turning a blind

eye in his professional capacity to an array of misdemeanors and felonies discovered

or occurring during such encounters—crimes that might include public displays of

obscenity, theft, resisting arrest, and other offenses against the public good, such as


                                          21
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 24 of 39




serious drug violations. By eroding respect for law enforcement and the legislature’s

enactments, the existence of the policy bears “some reasonable relation” to neglect

of duty or incompetence. Ayala, 224 So. 3d at 758.

      It is beside the point that, as Mr. Warren argues, the public-safety exception

“naturally would require an individualized, case-specific determination.” DE3-1:24

n.5. Prosecutorial discretion means “individualized determination[s] ‘exercised ac-

cording to the exigency of the case, upon a consideration of the attending circum-

stances.’” Ayala, 224 So. 3d at 759 (citation omitted). But where prosecutors first

must establish that their cases fit within narrowly defined windows not imposed by

the legislature itself, they lack the freedom to charge as appropriate.

      Presumptive non-prosecution of various misdemeanors. Next, the Governor

noted Mr. Warren’s policy of “presumptive non-enforcement for certain criminal vi-

olations, including trespassing at a business location, disorderly conduct, disorderly

intoxication, and prostitution.” DE1-1:4–5. The Governor reasonably could have

concluded that this policy clashes with Florida law’s requirement that prosecutorial

discretion be exercised on an “individualized” basis, Ayala, 224 So. 3d at 759, rather

than in some sort of “presumptive” manner favoring non-prosecution. Even now,

Mr. Warren does not contend that this policy (unlike the pedestrian/bicyclist policy)

“enumerates specific exemptions” that would allow prosecutors to charge these mis-

demeanors in some instances. DE3-1:24.


                                          22
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 25 of 39




      Non-prosecution of abortion offenses. The Governor also cited Mr. Warren’s

publicly announced policy of not prosecuting abortion providers for criminal infrac-

tions. DE1-1:7. In a letter signed by a group of prosecutors after the Dobbs decision,

Mr. Warren proclaimed that “prosecutors should not be part of” enforcing abortion

limitations, as doing so “runs counter to the obligations and interests we are sworn

to uphold.” Id. “As such,” Mr. Warren wrote, he would “decline to use [his] of-

fice[’s] resources to criminalize reproductive health decisions” and “commit[ted] to

exercise [his] well-settled discretion and refrain from prosecuting those” who “pro-

vide, or support abortions.” Id. He added that while a state legislature “may decide

to criminalize personal healthcare decisions,” he was “obligated to prosecute only

those cases that serve the interests of justice and the people”—cases, in other words,

not involving abortion crimes.7

      Despite that bold stance, Mr. Warren now protests that the letter “does not

contain a categorical statement that Warren would not prosecute any law.”

DE3-1:25. On his telling, it is no more than a “value statement.” Id. Reasonable

readers will conclude otherwise. Most notably, the letter “commit[s]” Mr. Warren’s

office to “refrain[ing] from prosecuting” those who “provide, or support abor-

tions”—full stop. DE1-1:7 (emphasis added).



      7
       As the Governor observed, this would seemingly include even longstanding
bans on partial-birth and late-term abortions. DE1-1:6.
                                         23
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 26 of 39




      Mr. Warren cannot evade responsibility for that statement by clinging to its

reference to “discretion.” DE3-1:26. The letter does not vow to exercise individual-

ized discretion in the abortion context, as Mr. Warren now would have it. Rather, it

invokes a prosecutor’s “well-settled discretion” as the very basis for its sweeping

promise not to prosecute abortion providers. DE1-1:7. Under Florida law, nullifying

a criminal enactment wholesale is not an exercise in individualized discretion. Ayala,

224 So. 3d at 758–59.

      It is likewise no defense that the abortion letter reserves the right to prosecute

those who “carry[] out a forced abortion” or who “perform an abortion negligently

or with the intent to harm” the mother. DE3-1:27 n.7 (citing DE1-1:22 n.2). If any-

thing, that vanishingly narrow exception underscores just how categorical Mr. War-

ren’s promise not to prosecute abortion offenses truly is. And it reflects his miscon-

ception that he has the power to prosecute only those crimes reflecting policies he

agrees with—here, laws protecting the mother, not those protecting unborn children.

      Non-prosecution of offenses related to “gender-affirming care.” Last, the

Governor found further evidence of Mr. Warren’s neglect of duty and incompetence

in his public statement pledging not to prosecute offenses related to “gender-affirm-

ing” care. DE1-1:4. Like Mr. Warren’s comments on abortion, that statement made

abundantly clear that Mr. Warren will not authorize his office to charge violations

of any such criminal laws the Florida Legislature might adopt in the future, as those


                                          24
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 27 of 39




laws would not, in his view, “promote public safety, community trust, or fiscal re-

sponsibility,” and would “serve no legitimate purpose.” Id. On that basis, Mr. War-

ren “pledge[d] to use [his] discretion” to not “promote the criminalization of gender-

affirming healthcare or transgender people.” Id.

      Mr. Warren says the Governor misread his remarks. The gender-affirming-

care statement, he claims, “nowhere asserted that Warren categorically planned not

to enforce any specific law.” DE3-1:21. But the import was clear: Mr. Warren would

decline to enforce laws he disagreed with. And even if he has not yet had occasion

to neglect his duty, his erroneous understanding of the relationship between the leg-

islature and state attorneys proves incompetence. Cf. Ayala, 224 So. 3d at 759 (re-

fusal to prosecute classes of cases “does not reflect an exercise of prosecutorial dis-

cretion; it embodies, at best, a misunderstanding of Florida law”). At the very least,

the statement confirms the Governor’s interpretation of the other policies described

in the order—on the whole, they bespeak a “blatant defiance of the Florida Legisla-

ture.” DE1-1:9.

      The facts in the suspension order therefore plainly “bear some reasonable re-

lation” to the charge of neglect of duty and incompetence. Israel, 269 So. 3d at 496.

The weight and significance of those facts are for the Senate to decide—not a court,

let alone a federal court. Moreover, as Mr. Warren’s case proceeds in the Senate, the

Governor is free to present additional evidence supporting the pending charges or to


                                          25
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 28 of 39




add new charges based on misconduct that may since have surfaced. See DE1-1:10

(“If, after execution of this suspension, additional facts are discovered that illustrate

further neglect of duty, incompetence, or other constitutional grounds for suspension

of Andrew Warren, this Executive Order may be amended to allege those additional

facts.”).

       C. The Court may not and should not grant the requested injunctive re-
          lief.
       Merits aside, Mr. Warren asks this court to intervene, midstream, in the State’s

constitutional process for removing an elected officer. See Fla. Const. art. V, § 17

(discussing state attorneys); id. art. IV, § 7(a)–(b) (granting the Governor and Senate

exclusive power to reinstate a suspended officer). That request flouts the principles

of federalism and comity that compel courts to abstain from interfering with what

amounts to a “noncriminal judicial proceeding[] when important state interests are

involved.” Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423,

432 (1982); see also Younger v. Harris, 401 U.S. 37, 43–54 (1971). And it would

require this Court to award extraordinary relief well beyond the historical limits of

equity. See Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S.

308, 318 (1999). Either reason justifies dismissal of the case and denial of a prelim-

inary injunction.

       1. Under Younger, “[w]here vital state interests are involved, a federal court

should abstain unless state law clearly bars the interposition of the constitutional

                                           26
      Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 29 of 39




claims.” 31 Foster Children v. Bush, 329 F.3d 1255, 1274 (11th Cir. 2003). A three-

part test governs the Younger inquiry: (1) “do [the proceedings] constitute an ongo-

ing state judicial proceeding”; (2) “do the proceedings implicate important state in-

terests”; and (3) “is there an adequate opportunity in the state proceedings to raise

constitutional challenges.” Id. Each prong is met here.

       For starters, the pending Senate proceedings are judicial. The Florida Senate,

after all, “is nothing less than a court provided to examine into and determine

whether or not the Governor exercises the power of suspension in keeping with the

constitutional mandate.” Hardie, 155 So. at 130; see also Fla. Sen. R. 12 (allowing

the filing of a bill of particulars and response—effectively a complaint and answer—

presentation of physical evidence and testimony, issuance of subpoenas, and hear-

ings). 8

       The Senate proceedings are also ongoing. Removal proceedings begin in the

Senate “on receipt” of the suspension order “by the Senate.” Fla. Sen. R. 12.7. The

Senate received the Governor’s order here on August 4, 2022, so the process has

begun. See Memorandum from Senate President Wilton Simpson to All Senators re:

Executive Order of Suspension 22-176 (Aug. 4, 2022).9 And the proceedings remain



       8
           https://www.flsenate.gov/UserContent/Publications/SenateRules/2020-
2022_Rules.pdf.
     9
              https://www.flsenate.gov/usercontent/session/executivesuspensions/
Warren_Andrew/MemotoSenators20200804.pdf.
                                         27
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 30 of 39




“ongoing” for Younger purposes even though the Senate has temporarily stayed its

proceedings pending this litigation. See Letter from Senate Secretary Debbie Brown

to Andrew Warren re: Executive Order of Suspension, Exec. Order No. 22-176

(Aug. 17, 2022).10 “[T]he whole point of Younger abstention is to stop federal inter-

ference with state proceedings,” so it would be “backwards to reject abstention be-

cause the state proceedings have been stayed to allow the federal case to proceed.”

San Remo Hotel v. City & Cnty. of San Francisco, 145 F.3d 1095, 1104 (9th Cir.

1998); accord PDX N. Inc. v. Comm’r N.J. Dep’t of Labor & Workforce Dev., 978

F.3d 871, 884–85 (3d Cir. 2020).

         As for the important-interests prong, the removal of an executive official un-

der state constitutional processes for his publicized neglect of duty and incompe-

tence undoubtedly implicates sovereign interests of paramount importance to the

State.

         And Mr. Warren will have full opportunity to raise his federal claims in the

Senate proceeding. He may present “all written defenses or matters in avoidance of

the charges contained in the suspension order,” Fla. Sen. R. 12.9(3), including a

claim that the order was a response to his protected speech. And since Mr. Warren

has not yet tried to “present his federal claims in [the] state-court proceedings”—



         10
            https://www.flsenate.gov/usercontent/session/executivesuspensions/
Warren_Andrew/081722AndrewWarrenNoticeofAbeyance.pdf.
                                           28
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 31 of 39




indeed, he has not even tried to invoke the State’s mechanism for lifting a stay, see

id. 12.9(2)—this Court “should assume that state procedures will afford an adequate

remedy.” Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15 (1987).

      Finally, to the extent this Court questions whether Mr. Warren can adequately

present his federal claim before the Senate, those questions are themselves reasons

to abstain. See R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496, 501 (1941) (re-

fraining from hearing case in which the resolution of a federal constitutional question

might be rendered unnecessary by an unresolved question of state law); see also

Butler v. Ala. Jud. Inquiry Comm’n, 245 F.3d 1257, 1265–66 (11th Cir. 2001) (cer-

tifying whether defendants can raise a constitutional challenge in an Alabama forum

to the Alabama Supreme Court).

      2. This Court also lacks the power to grant the injunctive relief Mr. Warren

seeks. He asks the Court to order “DeSantis to rescind” the suspension order and

“reinstate” him. DE1:26. But this Court may not grant equitable relief that extends

beyond what equity permitted at the Founding. See Grupo Mexicano, 527 U.S. at

318. And back then, “federal equity power could not be exercised to enjoin a state

proceeding to remove a public officer.” Baker v. Carr, 369 U.S. 186, 231 (1962);

accord Fineran v. Bailey, 2 F.2d 363, 363 (5th Cir. 1924) (“It is well settled by the

decisions of the Supreme Court that a District Court of the United States has no




                                          29
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 32 of 39




jurisdiction over the appointment and removal of public officers.”). 11 That is pre-

cisely the relief Mr. Warren seeks here: He asks this Court to use its equitable powers

to upend a state removal proceeding. Equity never stretched so far, and Mr. Warren

cites nothing to suggest that Congress has expanded the equitable power of the fed-

eral courts to fashion such relief. See Grupo Mexicano, 527 U.S. at 333.

      That rule also honors federalism principles. Federal courts seldom interfere

with how sovereign states choose to govern themselves and police their officials.

See Ala. Pub. Serv. Comm’n v. S. Ry. Co., 341 U.S. 341, 349 (1951) (discussing “the

scrupulous regard for the rightful independence of state governments which should

at all times actuate the federal courts”). Such interference upsets our system’s careful

“federal-state balance,” cf. Jones v. United States, 529 U.S. 848, 858 (2000), and

raises difficult questions about how federal courts could even enforce reinstatement

remedies, see Nixon v. United States, 506 U.S. 224, 236 (1993) (questioning what

relief a federal court could grant a judge impeached and removed from office). For

that reason, any congressional statement expanding equity to permit federal-court

intrusion into state removal proceedings would need to be “exceedingly clear.” Cf.

Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489

(2021). No such clear statement exists here.


      11
         Decisions of the former Fifth Circuit released before October 1, 1981 are
binding in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir.
1981) (en banc).
                                          30
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 33 of 39




      Though this Court lacks any equitable power to upset the State’s removal pro-

ceedings, at the very least the Court cannot order the reinstatement of Mr. Warren

and instead must limit its remedy to vacatur of any unlawful state action. See Reams

v. Scott, 2018 WL 5809967, at *5 (N.D. Fla. Nov. 6, 2018). That is especially so

given that Mr. Warren does not challenge on First Amendment grounds two of the

four stated grounds in the Governor’s suspension order, see supra n.1, and given that

the Governor may add grounds for suspending and removing Mr. Warren for the

Senate’s consideration, supra 26.

 II. NOR HAS MR. WARREN MADE THE EQUITABLE SHOWINGS NECESSARY FOR
     A PRELIMINARY INJUNCTION.

      To obtain the extraordinary relief of a preliminary injunction, Mr. Warren

must establish that he will suffer irreparable harm without an injunction and that the

equities and the public interest favor injunctive relief. See Winter, 555 U.S. at 20.

He has not made these showings.

      1. To establish irreparable harm, Mr. Warren cites two harms. Neither is ir-

reparable.

      Mr. Warren first claims that the “direct penalization” he allegedly suffered for

exercising his First Amendment right constitutes irreparable injury. DE3-1:29




                                         31
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 34 of 39




(quoting Cate v. Oldham, 70 F.3d 1176, 1188 (11th Cir. 1983)). 12 Direct penaliza-

tion, however, amounts to irreparable injury only when it “chill[s]” future speech by

leading the plaintiff to believe that he will suffer future government retaliation if he

engages in additional expression. See Siegel, 234 F.3d at 1178; see also Hohe v.

Casey, 868 F.2d 69, 72 (3d Cir. 1989).

      That is not the case here. Mr. Warren has been suspended from office, and the

Governor cannot retaliate against him further. Mr. Warren thus has no reason to fear

future retaliation for his speech, nor does his conduct post-suspension suggest that

he has let any such concern stop him from speaking. See Andrew Warren, DeSantis

sacked me for doing my job as a prosecutor. Who’s next?, The Washington Post

(August 12, 2022). 13 His “direct penalization,” then, has not triggered any irrepara-

ble “chill” that this Court could remedy.

      Mr. Warren next argues that his “[r]emoval from office” cannot be “compen-

sated monetarily.” DE3-1:28. That too is wrong. If Mr. Warren is reinstated after

winning this lawsuit (or after prevailing in the Senate), he will be paid any “salary



      12
          Mr. Warren also suggests in passing that the “loss of First Amendment free-
doms” always “constitutes irreparable injury.” DE3-1:29. That is incorrect. See
Siegel, 234 F.3d at 1178 (“Plaintiffs also contend that a violation of constitutional
rights always constitutes irreparable harm. Our case law has not gone that far[.]”);
Hohe v. Casey, 868 F.2d 69, 72 (3d Cir. 1989) (“Constitutional harm is not neces-
sarily synonymous with [] irreparable harm[.]”).
       13
          https://www.washingtonpost.com/opinions/2022/08/12/florida-state-attor-
ney-desantis-fired-me/.
                                            32
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 35 of 39




or other compensation” withheld during his suspension. Fla. Stat. § 111.05. His re-

moval therefore can be “compensated monetarily.”

      2. The equities and the public interest also do not favor reinstating Mr. War-

ren. Of most concern, Mr. Warren has publicly announced his decision not to pros-

ecute certain crimes in the Thirteenth Judicial Circuit. Reinstating him would there-

fore undermine the deterrent effect that the threat of prosecution has on crime and

embolden individuals to engage in criminal conduct within that jurisdiction.

      What is more, the Thirteenth Judicial Circuit’s State Attorney’s Office has

already undergone one leadership change and borne all the administrative burdens

that come with it. Switching leadership yet again would only sow further confusion

and uncertainty for the employees in that office and the citizens it serves. If this

switch must be made, it should be made by the politically accountable members of

the Florida Senate, not a federal court. As a result, this Court should decline to man-

date the disruptive back-and-forth that Mr. Warren seeks and should instead allow

the new State Attorney to maintain the stability of her office while Mr. Warren’s

case proceeds in the courts and, ultimately, in the Senate.

                                  CONCLUSION

      Mr. Warren had no First Amendment right, as a public official, to declare that

he would not perform his duties under Florida law. And “[o]nce the Governor sus-

pends a public official, the Florida Senate has the exclusive role of determining


                                          33
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 36 of 39




whether to remove or reinstate that suspended official.” Israel, 269 So. 3d at 495.

The propriety of the Governor’s suspension order therefore is not a matter for this

Court to decide, or any court for that matter. It is a question for Florida’s political

branches.

      For the reasons above, the Court should deny Mr. Warren’s motion for a pre-

liminary injunction and should dismiss the complaint.




                                          34
   Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 37 of 39




Dated: September 2, 2022               Respectfully submitted,

                                       ASHLEY MOODY
                                        Attorney General

                                       /s/ Henry C. Whitaker
                                       HENRY C. WHITAKER (FBN 1031175)
                                         Solicitor General
JAMES H. PERCIVAL (FBN 1016188)        JEFFREY PAUL DESOUSA (FBN 110951)
 Deputy Attorney General                 Chief Deputy Solicitor General
 of Legal Policy                       DAVID M. COSTELLO (FBN 1004952)
NATALIE CHRISTMAS (FBN 1019180)          Deputy Solicitor General
 Assistant Attorney General
 of Legal Policy                       Office of the Attorney General
                                       The Capitol, PL-01
                                       Tallahassee, Florida 32399
                                       (850) 414-3300
                                       henry.whitaker@myfloridalegal.com

                                       Counsel for Governor DeSantis




                                  35
    Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 38 of 39




                        CERTIFICATE OF COMPLIANCE

      This motion complies with the requirements of Local Rule 7.1(F) because it

contains 7,998 words.

                                            /s/ Henry C. Whitaker
                                            Solicitor General




                                       36
     Case 4:22-cv-00302-RH-MAF Document 30 Filed 09/02/22 Page 39 of 39




                        CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2022, a true and correct copy of the

foregoing was filed with the Court’s CM/ECF system, which will provide service to

all parties.

                                            /s/ Henry C. Whitaker
                                            Solicitor General




                                       37
